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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 CHRISTIAN W. SANDVIG, et al.,
         Plaintiffs,
                v.                                       Civil Action No. 16-1368 (JDB)
 WILLIAM BARR, in his official capacity
 as Attorney General of the United States,
         Defendant.



                                            ORDER

       It is hereby ORDERED that the parties each shall file by not later than December 13, 2019,

a memorandum, not to exceed seven double-spaced pages, clarifying their respective

interpretations of 18 U.S.C. § 1030(a)(2)(C). Each memorandum shall address, in particular:

          (1) the meaning of the statutory phrase “accesses a computer without authorization”;

          (2) what specific anticipated actions, if any, by plaintiffs constitute “access[ing] a

          computer without authorization”;

          (3) the meaning of the statutory phrase “exceeds authorized access,” beyond the

          statutory definition at 18 U.S.C. § 1030(e)(6), and how the phrase differs from

          “accesses a computer without authorization”;

          (4) what specific anticipated actions, if any, by plaintiffs constitute “exceed[ing]

          authorized access”;

          (5) the meaning of the word “entitled” in the statutory definition of “exceeds authorized

          access,” see 18 U.S.C. § 1030(e)(6).

       It is further ORDERED that plaintiffs shall file an affidavit, not to exceed two double-

spaced pages, clarifying whether—as represented by counsel at the November 15, 2019 hearing—


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“they only intend to access parts of a website that are otherwise open to the public or available to

anyone who creates a [username] and password,” Mots. Hr’g Tr. [ECF No. 62] at 8:15–17, or

whether plaintiffs also intend to access portions of websites requiring payment, see Dep. Tr. of

Christopher Wilson [ECF No. 52-4] at 171:12–14, 174:18–25, or requiring the provision of

authenticating business information, see Wilson E-mails Regarding CareerBuilder Receipt,

PID7243-46 (July 2016) [ECF No. 52-16] at 3.

       SO ORDERED.

                                                                         /s/
                                                                 JOHN D. BATES
                                                            United States District Judge
Dated: November 26, 2019




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